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                                   8   Attorneys for Defendant
                                       MARICH BEIN LLC
                                   9
                                  10                       UNITED STATES BANKRUPTCY COURT
                                  11                       CENTRAL DISTRICT OF CALIFORNIA
                                  12                              SANTA ANA DIVISION
300 S. Grand Avenue, Suite 2600




                                  13   In re:                                ) Case No. 8:23-bk-10571-SC
    Los Angeles, CA 90071




                                                                             )
       Locke Lord LLP




                                  14                                         ) Adversary No. 8:23-ap-01046-SC
                                       THE LITIGATION PRACTICE GROUP, )
                                  15   PC,                                   ) Chapter 11
                                                                             )
                                  16                        Debtor.          ) NOTICE OF NON-OPPOSITION,
                                                                               INCORRECT STATEMENTS,
                                  17   ____________________________________ ))
                                                                               AND RESERVATION OF
                                  18                                         ) RIGHTS RE TRUSTEE’S
                                       RICHARD A. MARSHACK,                  )
                                  19   Chapter 11 Trustee                    ) MOTION TO VOLUNTARILY
                                                                             ) DISMISS DEFENDANTS
                                  20                                         ) MARICH BEIN LLC AND
                                                            Plaintiff,       ) BANKUNITED, N.A. WITHOUT
                                  21        vs.                              ) PREJUDICE IN ORDER TO
                                                                             )
                                  22
                                       TONY DIAB, et al.                     ) SEVER TRUSTEE’S CLAIMS
                                                                             )
                                  23                                         ) Date: February 29, 2024
                                                            Defendants.      ) Time: 11:00 a.m.
                                  24                                         ) Judge: Hon. Scott C. Clarkson
                                  25                                         )
                                                                             ) Place: Courtroom 5C
                                                                             )        411 West Fourth Street
                                  26                                                  Santa Ana, CA 92701
                                                                             )
                                  27                                         )
                                                                             )
                                  28
                                       136159543                              1
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                                   1          Defendant Marich Bein LLC (“MB”) responds to “Plaintiff Richard A.
                                   2   Marshack’s Motion to Voluntarily Dismiss Defendants Marich Bein LLC and
                                   3   BankUnited, N.A. Without Prejudice in Order to Sever Trustee’s Claims as to these
                                   4   Defendants” (the “Motion”) [Adv. Nos. 339, 339-1, and 339-2] as follows:
                                   5          1.    MB does not oppose the relief requested in the Motion.
                                   6          2.    MB’s non-opposition is based upon the statement of the Trustee in the
                                   7    Memorandum of Point and Authorities (the “Memorandum”) submitted in support of
                                   8    the Motion that “assuming the Court grants Trustee’s request, the parties will be
                                   9    involved in the very same litigation as the current Adversary Proceeding, under a
                                  10    different case number without the confusion, calendaring, trial and discovery
                                  11    coordination with over 40 other defendants whose claims are not directly related to
                                  12    those alleged against Marich Bein and BankUnited.” Memorandum, p. 8, line 28 – p.
300 S. Grand Avenue, Suite 2600




                                  13    9, line 4. MB notes that it is unable to verify the accuracy of this statement since the
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                                  14    Trustee has not yet provided a draft of the new complaint the Trustee currently
                                  15    intends to file against MB.
                                  16          3.    The Memorandum contains multiple untrue and inaccurate statements
                                  17    and contentions, including (without limitation), the following:
                                  18                a.     The Trustee incorrectly states “it has recently been discovered
                                  19    Marich Bein entered into approximately twenty (20) ACH receivable purchase
                                  20    agreements with LPG marketing companies (sometimes referred to as “cappers”)
                                  21    purporting to purchase the cappers ACH review [sic] stream fraudulently transferred
                                  22    from LPG.” Memorandum, p. 6, lines 5-8. MB did not enter any purchase
                                  23    agreement with any marketing company.
                                  24                b.     The Trustee erroneously contends “[b]ecause Marich Bein, unlike
                                  25    other named Defendants in the 1046 Action, were purchasing LPG ACH revenue
                                  26    streams from cappers, the Trustee’s claims as against Marich Bein differs
                                  27    substantially from other Defendants, Affiliates and cappers who are also the subject
                                  28    of separate adversary proceedings from the 1046 Action.” Memorandum, p. 6, lines
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                                   1    17-20. MB did not purchase anything from any capper.
                                   2                  c.    The Trustee inaccurately alleges that MB “is wrongfully in
                                   3    possession of LPG client funds ….”
                                   4                  d.    The Trustee erroneously asserts that MB purchased accounts from
                                   5    LPG for no value or less than reasonable value.
                                   6                  e.    The Trustee falsely contends that Tony Diab had an insider
                                   7    relationship with MB and incorrectly asserts that Diab had influence and control over
                                   8    MB.
                                   9                  f.    The Trustee wrongly states that MB withheld funds rightly
                                  10    belonging to LPG.
                                  11                  g.    The Trustee incorrectly alleges that LPG client funds are being
                                  12    held in MB accounts.
300 S. Grand Avenue, Suite 2600




                                  13                  h.    The Trustee mistakenly states that BankUnited has not answered
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       Locke Lord LLP




                                  14    the Trustee’s second amended complaint in the above-captioned adversary
                                  15    proceeding.
                                  16          4.      It appears that many of the statements and contentions made by the
                                  17    Trustee in the Memorandum are based on statements or information provided to the
                                  18    Trustee by Tony Diab. The Trustee has previously asserted that Diab, a twice
                                  19    disbarred lawyer, is an unreliable and dishonest source of information. MB has no
                                  20    doubt that Diab has provided the Trustee with inaccurate and false information.
                                  21    ///
                                  22    ///
                                  23    ///
                                  24    ///
                                  25    ///
                                  26    ///
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                                   1          5.    MB reserves all, rights, claims, and defenses, and submission of this
                                   2    Notice is not intended as (a) a waiver or release of MB’s rights, claims, or defenses,
                                   3    (b) consent to the Court’s jurisdiction for any purpose other than determination of the
                                   4    Motion, (c) a waiver or release of any rights that MB may have to a jury trial, or (d) a
                                   5    waiver or release of any other right, claim, or defense.
                                   6
                                   7   Dated: February 7, 2024                      Respectfully submitted,
                                   8                                                LOCKE LORD LLP
                                   9
                                                                                    By:/s/ David Kupetz
                                  10
                                                                                       David S. Kupetz
                                  11                                                   William C. Mullen
                                                                                       Attorneys for Defendant
                                  12
                                                                                       MARICH BEIN, LLC
300 S. Grand Avenue, Suite 2600




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    Los Angeles, CA 90071
       Locke Lord LLP




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
x300 South Grand Avenue, Suite 2600, Los Angeles, CA 90071


A true and correct copy of the foregoing document entitled (specify): NOTICE OF NON-OPPOSITION, INCORRECT
STATEMENTS, AND RESERVATION OF RIGHTS RE TRUSTEE'S MOTION TO VOLUNTARILY DISMISS
DEFENDANTS MARICH BEIN LLC AND BANKUNITED, N.A. WITHOUT PREJUDICE IN ORDER TO SEVER
TRUSTEE'S CLAIMS
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 7, 2024 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                     , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 7, 2024 , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
JUDGE'S COPY - BY OVERNIGHT MAIL
The Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


February 7, 2024               Mylene Ruiz
 Date                          Printed Name                                                     Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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